                       2IN THE UNITED STATES BANKRUPTCY COURT
                   NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION

    IN RE:                                                 )
                                                           )
    HARRIS FARMS, LLC,1                                    ) CASE NO. 17-81562-CRJ12
    EIN: XX-XXX8466                                        ) CHAPTER 12
                                                           )
          Debtor.                                          ) (Jointly Administered)

                                  FIFTH AMENDED CHAPTER 12 PLAN

       COME NOW Harris Farms, LLC (“Farms”) and Harris Turf, Inc. (“Turf”), as debtors and
debtors-in-possession (cumulatively “Debtors”) in the above-styled Chapter 12 cases, procedurally
consolidated by Order dated June 28, 2017, pursuant to 11 U.S.C. § 1223, and submit this Fifth
Amended Chapter 12 Plan.

           I.      Funding for Plan. Farms submits all of its future disposable income to the extent
           necessary to consummate this Chapter 12 Plan by paying priority and secured claims
           pursuant to the terms set out herein. Turf’s only cash flow is from the lease of its
           agricultural property to Farms, which is a pass through of costs associated with the real
           property. Farms specifically reserves all future income necessary for living expenses of its
           owners, Richie and Sharon Harris, and operating expenses; and for direct, long-term
           payment of secured claims.

           II.     Unclassified Claims. Pursuant to 11 U.S.C. § 1222(a)(3), the claims in this case
           are classified for the purpose of similar treatment within each class as follows:

                    A.     Administrative claims. This class consists of all administrative expense
                    claims of the Debtors’ Chapter 12 case allowed pursuant to § 503(b) of the Code
                    and given priority in accordance with §507(a)(1) of the Bankruptcy Code. This
                    group of claims is divided into the following sub-classes:

                            (a)      Any noticing fees and other charges due to the Clerk of Court for:
                                     (1) Farms and (2) Turf;

                            (b)      A fee and reimbursement of expense for the Chapter 12 Trustee
                                     for: (1) Farms and (2) Turf;

                            (c)      Professional compensation and reimbursement of expenses for the
                                     Debtors’ attorney in amounts to be determined by the Court upon
                                     notice and a hearing for: (1) Farms and (2) Turf; and




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    In addition to Harris Farms, LLC, the debtors include the following: Harris Turf Inc.; Case No. 17-81563-CRJ12.

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                   (d)      Any other priority claims which are timely filed and subsequently
                            allowed by the Court for: (1) Farms and (2) Turf. (Other than
                            provided in item B. below, the Debtors do not expect any claims in
                            this sub-class to be filed.)

            B.     Priority claims.

            Harris Farms, LLC: This class consists of the priority claim of Madison County
            Tax Collector for unpaid 2017 property tax in the approximate amount of $180.23.

            Harris Turf, Inc.: This class consists of the priority claim of:

            (1)    Internal Revenue Service for unpaid income tax in the approximate amount
                   of $15,016.53; however, Turf intends to object to the claim of the IRS; and

            (2)    Madison County Tax Collector from Turf for unpaid 2017 property tax in
                   the approximate amount of $882.04.

     III.   Classified Claims.

            Class 1:     Secured Claims of Harris Farms, LLC

            Class 1(a): Kubota Credit Corporation. This class consists entirely of the secured
            claim of Kubota Credit Corporation whose claim is secured by one (1) Kubota
            M7060HD 63496 Land Pride and one (1) Land Pride AMF4216 1073733.

            Class 1(b): [intentionally omitted]

            Class 1(c): Citizens Community Bank. This class consists entirely of the secured
            claim no. 9 of Citizens Community Bank whose claim is secured by all crops
            growing, grown and/or stored and the proceeds of the sale thereof.

            Class 1(d): Citizens Community Bank. This class consists entirely of the secured
            claim no. 10 of Citizens Community Bank whose claim is secured by growing sod
            on farm located in District 3 of Madison County, Alabama, and all equipment and
            the proceeds of the sale thereof.

            Class 1(e): First Jackson Bank. This class consists entirely of the secured claim of
            First Jackson Bank whose claim is secured by the following: one (1) 2000 Wilson
            Hopper Trailer, VIN 1W1MCF1A5YB231095.

            Class 1(f): [intentionally omitted]




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          Class1(g): Darrin J. Isbell. This class consists of the agreed secured claim of Darrin
          J. Isbell in the amount of $850,000.00, of which $780,000.00 is secured by a first
          lien on the real property located in Madison County more particularly described as
          Section 26, Township 3 South, Range 2 East; and $70,000.00 secured by all
          irrigation equipment, parts, watering systems and their replacements.

          Class 1(h): FNB Bank. This class consists entirely of the secured claim no. 21 of
          FNB Bank whose claim is secured by the following: one (1) 2011 Valley Center
          Pivot, Serial 10908672; 1999 Valley Center Pivot, Serial 10018142; and one (1)
          2000 Wilson Hopper Trailer, VIN 1W1MCF1AOYA230930.

          Class 1(i): [intentionally omitted]

          Class 1(j): [intentionally omitted]

          Class 1(k): Madison County Coop. This class consists of the agreed secured claim
          of $175,000.00 secured by the real property located in Madison County more
          particularly described as Section 26, Township 3 South, Range 2 East.

          Each creditor now omitted or modified due to surrender of collateral shall
          have (60) days to liquidate collateral and amend their respective claims to
          reflect deficiency balances.

          Class 2:    Secured Claims of Harris Turf, Inc.

          Class 2(a): Darrin J. Isbell.
          This class consists of the agreed secured claim of Darrin J. Isbell in the amount of
          $850,000.00, of which $780,000.00 is secured by a first lien on the real property
          located in Madison County more particularly described as Section 26, Township 3
          South, Range 2 East; and $70,000.00 secured by all irrigation equipment, parts,
          watering systems and their replacements. The balance of the Isbell claim will be
          treated as unsecured.

          Class 2(b): Madison County Coop.
          This class consists of the agreed secured claim of $175,000.00 secured by the real
          property located in Madison County more particularly described as Section 26,
          Township 3 South, Range 2 East. The balance of the Coop claim will be treated as
          unsecured.

          Class 3:    Unsecured Claims

          Class 3(a): Unsecured Claims of Farms. This class consists of any pre-petition
          unsecured claims concerning Farms’s farming operation. They include claims of
          every kind and nature including claims arising from the rejection of executory
          contracts, unexpired lease claims, deficiencies on secured claims, contract damage
          claims or open account claims and damages arising from or related to any liquidated
          or contingent claim. It also includes any debt which is filed as a secured claim but,

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           which is allowed as an unsecured claim by the Bankruptcy. The Debtor anticipates
           that this sum will be approximately $593,580.43.

           Class 3(b): Unsecured Claims of Turf. This class consists of any pre-petition
           unsecured claims concerning any debt which is filed as a secured claim but, which
           is allowed as an unsecured claim by the Bankruptcy. The Debtor anticipates that
           this sum will be approximately $152,078.88.

     IV.   Treatment of Claims. The various classes of claims described above shall receive
           the following treatment under the confirmed Plan, to wit:

           A.     Administrative claims. Pursuant to 11 U.S.C. § 1222(a), Debtors shall
           tender cash payments in full of all claims entitled to priority under 11 U.S.C.
           § 507(a)(1) upon entry of a final Order confirming the Plan. The amount of such
           claims shall be established as follows:

                  (a)     The Debtors shall pay noticing fees in an amount according to a bill
                  or certificate of charges due from the Clerk of the Court. This amount is
                  estimated to be less than $100.00 dollars.

                  (b)    The Debtors shall pay the Trustee his compensation and
                  reimbursement of his expenses.

                  (c)    The Debtors shall pay its attorney an amount approved by the Court
                  for compensation and reimbursement of expenses after a notice and hearing
                  upon proper application by said attorney. The amount of professional
                  compensation due at confirmation is estimated to be approximately
                  $27,500.00.

           B.     Priority claims.

           Harris Farms, LLC: This class consists of the priority claim of Madison County
           Tax Collector from Farms for unpaid 2017 property tax in the approximate amount
           of $180.23. Harris shall tender cash payment in full of all claims entitled to priority
           under 11 U.S.C. § 507(a)(2) through (a)(8) 30 days after confirmation of the plan.

           Harris Turf, Inc.: This class consists of the priority claim of:

           (1)     Internal Revenue Service for unpaid income tax in the approximate amount
           of $15,016.53. Turf shall tender cash payments in full of all claims entitled to
           priority under 11 U.S.C. § 507(a)(2) through (a)(8) of the Bankruptcy Code over
           sixty (60) months from the date of confirmation with no interest. The estimated
           payment will be $250.28 per month. This payment will be made through the
           Trustee. However, Turf intends to object to the claim of the IRS.




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          (2) Madison County Tax Collector for unpaid 2017 property tax in the
          approximate amount of $882.04. Turf shall tender cash payment in full of all claims
          entitled to priority under 11 U.S.C. § 507(a)(2) through (a)(8) 30 days after
          confirmation of the plan.

          Class 1:    Secured Claims of Harris Farms, LLC

          Class 1(a): Kubota Credit Corporation. As of May 23, 2017, Debtor owes Kubota
          Credit Corporation(“Kubota”) the approximate sum of $51,495.06 which is secured
          by one (1) Kubota M7060HD 63496, and one (1) Land Pride AMF4216 1073733.
          The Debtor will pay Kubota its allowed claim over the course of sixty (60) months,
          which includes interest at the rate of 5.25%. Payments shall commence on the first
          day of the first month following confirmation of the Plan and shall continue
          thereafter until the debt owed to Kubota is paid in full. Kubota shall retain its lien
          upon this collateral until its debt is paid in full at which time the Debtor may file
          the appropriate termination statements. The estimated payment shall be $977.68
          per month. This payment will be made by the Trustee. The Creditor shall retain
          its lien to the extent of its allowed secured claim.

          Class 1(b): [intentionally omitted]

          Class 1(c): Citizens Community Bank. As of May 23, 2017, Debtor owes Citizens
          Community Bank the approximate sum of $277,719.61 which is secured by all
          crops growing, grown and/or stored and the proceeds of the sale thereof. This debt
          is comprised of one (1) note and/or security agreement. The Debtor will pay
          Citizens Community Bank its allowed claim over the course of two hundred and
          forty (240) months, in monthly installments, which includes interest at the rate of
          5.25%. Payments shall commence on the first day of the first month following
          confirmation of the Plan and shall continue thereafter until the debt owed to
          Citizens Community Bank is paid in full. Citizens Community Bank shall retain
          its lien upon this collateral until its debt is paid in full at which time the Debtor may
          file the appropriate termination statements. The estimated payment shall be
          $1,871.40 per month. This payment will be made by the Trustee. The Creditor shall
          retain its lien to the extent of its allowed secured claim.

          Class 1(d): Citizens Community Bank. As of May 23, 2017, Debtor owes Citizens
          Community Bank the approximate sum of $102,842.16 which is secured by
          growing sod on farm located in District 3 of Madison County, Alabama, and all
          equipment and the proceeds of the sale thereof. This debt is comprised of one (1)
          note and/or security agreement. The Debtor will pay Citizens Community Bank its
          allowed claim over the course of two hundred and forty (240) months, in monthly
          installments, which includes interest at the rate of 5.25%. Payments shall
          commence on the first day of the first month following confirmation of the Plan
          and shall continue thereafter until the debt owed to Citizens Community Bank is
          paid in full. Citizens Community Bank shall retain its lien upon this collateral until
          its debt is paid in full at which time the Debtor may file the appropriate termination



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          statements. The estimated payment shall be $693.00 per month. This payment will
          be made by the Trustee.

          Class 1(e): First Jackson Bank. As of May 23, 2017, Debtor owes First Jackson
          Bank the approximate sum of $15,000.00 which is secured by the following: one
          (1) 2000 Wilson Hopper Trailer, VIN 1W1MCF1A5YB231095. The Debtor will
          pay First Jackson Bank its allowed secured claim over the course of forty-eight (48)
          months, which includes interest at the rate of 6%. Payments shall continue for the
          remaining term of the Plan and shall continue until the debt owed to First Jackson
          Bank is paid in full. First Jackson Bank shall retain its lien upon this collateral until
          its debt is paid in full at which time the Debtor may file the appropriate termination
          statements. The estimated payment shall be $352.28 per month. This payment will
          be made by the Trustee. The Creditor shall retain its lien to the extent of its allowed
          secured claim.

          Class 1(f):[intentionally omitted]

          Class 1(g): Darrin J. Isbell. As of May 23, 2017, Debtor owes Darrin J. Isbell the
          approximate sum of $850,000.00 which is secured by the following: real property
          located in Madison County more particularly described as Section 26, Township 3
          South, Range 2 East; and all irrigation equipment, parts, watering systems and their
          replacements. This debt is comprised of one (1) note and/or security agreement.
          The Debtor will pay Darrin J. Isbell his Allowed Secured Claim over the course of
          two hundred and forty (240) months, which includes interest at the rate of 6.5%.
          Payments shall commence on the first day of the first month following confirmation
          of the Plan and shall continue thereafter until the debt owed to Darrin J. Isbell is
          paid in full. Darrin J. Isbell shall retain his lien upon this collateral until his
          Allowed Secured Claim is paid in full at which time the Debtor may file the
          appropriate termination statements and mortgage releases. The estimated payment
          shall be $6,337.37 per month. This payment will be made by the Trustee. The
          Creditor shall retain its lien to the extent of its allowed secured claim.

          The Isbell Claims shall be paid as secured in the amount of $850,000.00 at 6.50%
          interest and as unsecured in the amount of $50,840.75.

          Both Farms and Turf are jointly and severally liable for this debt, and payment is
          provided for by both Debtors. However, Farms, as the operating entity, is
          anticipated to make these payments. Notwithstanding anything contained in this
          Plan, Farms and Turf shall not be obligated to duplicate the payment of the Allowed
          Secured Claim of this creditor.

          Class 1(h): FNB Bank. As of May 23, 2017, Debtor owes FNB Bank the
          approximate sum of $65,000.00 which is secured by the following: one (1) 2011
          Valley Center Pivot, Serial 10908672; 1999 Valley Center Pivot, Serial 10018142;
          and one (1) 2000 Wilson Hopper Trailer, VIN 1W1MCF1AOYA230930. The
          Debtor will pay FNB Bank its allowed secured claim over the course of forty-eight
          (48) months, which includes interest at the rate of 6%. Payments shall continue for

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          the remaining term of the Plan until the debt owed to FNB Bank is paid in full.
          FNB Bank shall retain its lien upon this collateral until its debt is paid in full at
          which time the Debtor may file the appropriate termination statements. The
          estimated payment shall be $1,526.53 per month. This payment will be made by
          the Trustee. The Creditor shall retain its lien to the extent of its allowed secured
          claim.

          Class 1(i): [intentionally omitted]

          Class 1(j): [intentionally omitted]

          Class 1(k) Madison County Cooperative, Inc. As of May 23, 2017, Debtor owes
          Madison County Coop the approximate sum of $175,000.00 which is secured by a
          second mortgage on the following: real property located in Madison County more
          particularly described as Section 26, Township 3 South, Range 2 East. This debt is
          comprised of one (1) note and/or security agreement. The first mortgage to Darrin
          J. Isbell is $850,000.00. The Trustee will pay Madison County Coop its Allowed
          Secured Claim over the course of two hundred and forty (240) months, which
          includes interest at the rate of 5.25%. Payments shall commence on the first day of
          the first month following confirmation of the Plan and shall continue thereafter until
          the debt owed to the Madison County Coop is paid in full. Madison County Coop
          shall retain its lien upon this collateral until its Allowed Secured Claim is paid in
          full at which time the Debtor may file the appropriate termination statements and
          mortgage releases. The estimated payment shall be $1,179.23 per month. The
          Creditor shall retain its lien to the extent of its allowed secured claim.

          The Madison Coop Claims shall be paid as secured in the amount of $175,000.00
          at 5.25% interest and as unsecured in the amount of $93,878.44.

          Both Farms and Turf are jointly and severally liable for this debt, and payment is
          provided for by both Debtors. However, Farms, as the operating entity, is
          anticipated to make these payments. Notwithstanding anything contained in this
          Plan, Farms and Turf shall not be obligated to duplicate the payment of the Allowed
          Secured Claim of this creditor.

          Each creditor now omitted or modified due to surrender of collateral shall
          have (60) days to liquidate collateral and amend their respective claims to
          reflect deficiency balances.

          Class 2:    Secured Claims of Harris Turf, Inc.

          Class 2(a): Darrin J. Isbell. As of May 23, 2017, Debtor owes Darrin J. Isbell the
          approximate sum of $850,000.00 which is secured by the following: real property
          located in Madison County more particularly described as Section 26, Township 3
          South, Range 2 East; and all irrigation equipment, parts, watering systems and their
          replacements. This debt is comprised of one (1) note and/or security agreement.
          The Debtor will pay Darrin J. Isbell his Allowed Secured Claim over the course of

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          two hundred and forty (240) months, which includes interest at the rate of 6.5%.
          Payments shall commence on the first day of the first month following confirmation
          of the Plan and shall continue thereafter until the debt owed to Darrin J. Isbell is
          paid in full. Darrin J. Isbell shall retain his lien upon this collateral until his
          Allowed Secured Claim is paid in full at which time the Debtor may file the
          appropriate termination statements and mortgage releases. The estimated payment
          shall be $6,337.37 per month. This payment will be made by the Trustee. The
          Creditor shall retain its lien to the extent of its allowed secured claim.

          The Isbell Claims shall be paid as secured in the amount of $850,000.00 at 6.50%
          interest and as unsecured in the amount of $50,840.75.

          Both Farms and Turf are jointly and severally liable for this debt, and payment is
          provided for by both Debtors. However, Farms, as the operating entity, is
          anticipated to make these payments. Notwithstanding anything contained in this
          Plan, Farms and Turf shall not be obligated to duplicate the payment of the Allowed
          Secured Claim of this creditor.

          Class 2(b) Madison County Cooperative, Inc. As of May 23, 2017, Debtor owes
          Madison County Coop the approximate sum of $175,000.00 which is secured by a
          second mortgage on the following: real property located in Madison County more
          particularly described as Section 26, Township 3 South, Range 2 East. This debt is
          comprised of one (1) note and/or security agreement. The first mortgage to Darrin
          J. Isbell is $850,000.00. The Trustee will pay Madison County Coop its Allowed
          Secured Claim over the course of two hundred and forty (240) months, which
          includes interest at the rate of 5.25%. Payments shall commence on the first day of
          the first month following confirmation of the Plan and shall continue thereafter until
          the debt owed to the Madison County Coop is paid in full. Madison County Coop
          shall retain its lien upon this collateral until its Allowed Secured Claim is paid in
          full at which time the Debtor may file the appropriate termination statements and
          mortgage releases. The estimated payment shall be $1,179.23 per month. The
          Creditor shall retain its lien to the extent of its allowed secured claim.

          The Madison Coop Claims shall be paid as secured in the amount of $175,000.00
          at 5.25% interest and as unsecured in the amount of $93,878.44.

          Both Farms and Turf are jointly and severally liable for this debt, and payment is
          provided for by both Debtors. However, Farms, as the operating entity, is
          anticipated to make these payments. Notwithstanding anything contained in this
          Plan, Farms and Turf shall not be obligated to duplicate the payment of the Allowed
          Secured Claim of this creditor.

          Total monthly Plan payment for Allowed Secured Claims is estimated to be
          approximately $13,253.71.

          Class 3: Unsecured Claims Pursuant to 11 U.S.C. § 1222(b)(2), the Debtors
          elect to modify the rights of the holder of Unsecured Claims as follows:

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                  Class 3(a): Unsecured Claims of Farms. This class consists of any pre-petition
                  unsecured claims concerning Farms’s farming operation. They include claims of
                  every kind and nature including claims arising from the rejection of executory
                  contracts, unexpired lease claims, deficiencies on secured claims, contract damage
                  claims or open account claims and damages arising from or related to any liquidated
                  or contingent claim. It also includes any debt which is filed as a secured claim but,
                  which is allowed as an unsecured claim by the Bankruptcy. The Debtor anticipates
                  that this sum will be approximately $364,343.86.

                  Farms proposes to initially pay sixty percent (60%) of “Net Plan Profit” of Farms,
                  which would be Gross Income of Farms, less costs of farming operations, secured
                  and priority plan payments, secured claims of Turf, and cost of living for the
                  principals, for five (5) years2. These will be annual installments made by November
                  30th of the following year. Attached as Exhibit A and Exhibit B are estimates by
                  the Debtors of these costs. The Principals household budget shall be fixed for the
                  five (5) year term of the Plan. See Ex. B. It is anticipated that the annual payment
                  to Allowed Unsecured Claims will be as follows:

                  Year 1: 77,318.86; Year 2: $86,470.06; Year 3: $97,615.66; Year 4: $97,615.66;
                  Year 5: $97,615.66.

                  Annual payment will be distributed pro rata to Allowed Unsecured Claims. The
                  Debtors contend this represents the entire disposable incomes of the Debtors.

                  Class 3(b): Unsecured Claims of Turf. This class consists of any pre-petition
                  unsecured claims concerning any debt which is filed as a secured claim but, which
                  is allowed as an unsecured claim by the Bankruptcy. The Debtor anticipates that
                  this sum will be approximately $129,343.81. Turf is a passive entity, and therefore
                  has no expectation of future income. The secured portions of the claims will be
                  secured and the Allowed Unsecured Claim will receive $0. The Debtor notes,
                  however, that the unsecured claims in Turf are Darrin J. Isbell and Madison County
                  Cooperative, Inc., which also have the same unsecured claims in Farms, and will
                  receive distributions there.

         V.       Summary of Debtor's Operations. The Debtors operate a sod farm and provide
         some agricultural transportation to other farmers in the area. The Debtors own 206 acres.
         Of this total acreage, 160 sod acres are under cultivation. The Debtors receive farm income
         for this work and anticipate receiving assistance with plan payments.




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  The remaining forty present (40%) of Net Plan Profits is reserved for taxes and capital needs. Any surplus disposable
income shall be distributed to the Trustee annually on or before March 31 of the following year. The Debtor will
provide its tax returns and financials to the Trustee contemporaneous to each November/March payment. Any surplus
disposable income at completion of the Principles’ payment towards their daughter’s college tuition the shall be
distributed to the Trustee.

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     VI.     Implementation of Plan. Pursuant to 11 U.S.C.A.§ 1203, the Debtors shall
     continue its operation as debtors-in-possession. The Debtors will fund this Plan through
     five (5) annual payments from Farms, consisting of the Farms's disposable income (cost of
     the lease payments to Turf, to pay its secured and priority claims, will be deducted as an
     expense of Farms in order to calculate Farms’s disposable income) made to the Trustee on
     or by November 30th of each year beginning after the Effective Date. The disposable
     income will be generated from farming operations. The Debtors may, without further
     Order of this Court, incur debt in the ordinary course of business during the term of this
     Plan as necessary to implement this Plan.

     By or before the 10th day of the month following confirmation of this Plan, and continuing
     each month thereafter pursuant to the terms of this Plan, the Debtor will remit to the Trustee
     the sum of all payments due to the allowed secured claims for that month in this matter,
     along with the amount necessary to pay all pending administrative expenses (the “Secured
     Payment”). Upon funds from each Secured Payment clearing the Trustee’s bank account
     and being available, and after the Trustee pays all pending administrative expenses, he will
     make distributions to the allowed secured claims.

     By or before the 10th day of the month following confirmation of this Plan, and continuing
     each month thereafter pursuant to the terms of this Plan, the Debtor will remit to the Trustee
     the sum of all monthly payments due to the allowed priority tax claims for that month in
     this matter and the amount necessary to pay all pending administrative expenses (the “Tax
     Payment”). Upon funds from each Tax Payment clearing the Trustee’s bank account and
     being available, and after the Trustee pays all pending administrative expenses, he will
     make distributions to the allowed priority tax claims.

     Upon receiving each annual Net Plan Profit and surplus disposable income payment, as
     described in the Plan above, and upon funds clearing the Trustee’s bank account and being
     available, and after the Trustee pays all pending administrative expenses, he will make a
     pro-rata disbursement to the allowed unsecured claims, as proscribed by this Plan.

     The Trustee will be entitled to compensation in the amount of 5.0% of all payments
     received and reimbursement of expenses in the amount of 0.5% of all payments received
     for a total amount of 5.5% of each payment received (the “Trustee Compensation and
     Reimbursement”). The Trustee will be entitled to Trustee Compensation and
     Reimbursement on each and every payment at the time it is received from the Debtor and
     may be paid without further order from the Bankruptcy Court.

     VII.   Liquidation Analysis. See Exhibit C attached hereto.

     VIII. Miscellaneous terms. The following additional plan terms and conditions apply
           herein:

            (a)     Modification of Rights. Pursuant to 11 U.S.C. § 1222(b)(2), the Debtors
            elects to modify the rights of the holder of all secured claims by waiving any and
            all pre-confirmation defaults under the Loans or Security Agreements held by the
            secured creditors.

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           (b)    Lien Retention. All secured creditors will retain a lien on their collateral
           except as otherwise provided herein.

           (c)    Executory Contracts and Unexpired Leases. The Debtors hereby assume
           all executory contracts and unexpired leases concerning the Debtors’ farming
           operations.

           (d)     Effective date of the Plan. The effective date of this plan shall continue to
           be the date that the United States Bankruptcy Court entered its Order on March 8,
           2018 [Doc. 214] confirming Debtors’ Third Amended Chapter 12 Plan.

           (e)    Vesting of Property. Upon confirmation of the Plan, all of the property of
           the Chapter 12 estate shall vest in the Debtors.

           (f)    Avoidance of Liens on Exempt Property. Any and all liens which impair
           property exempt under Bankruptcy Code § 522(b) and applicable state exemption
           laws are hereby avoided and the claims held by the lien holders shall be considered
           Class 3 unsecured claims.

           (g)    Prior Claims. All prior Orders entered by the United States Bankruptcy
           Court for the Northern District of Alabama in this case are hereby incorporated by
           reference.

           (h)    Unsecured Claims. Allowed unsecured claims shall mean the holder of an
           unsecured claim which was timely filed with the United States Bankruptcy Court
           or to which the Debtors do not object.

     IX.   Claims. The actual payments to be made under this Plan will be based upon the
           allowed amount of each claim. The claim amounts reflected herein are estimates
           based upon information available to the Debtors. Pursuant to 11 U.S.C.A § 502(b),
           the allowed amount of each claim will be the amount reflected in the Proof of Claim
           to which no objection is filed. If an objection filed by each creditor to a claim is
           filed, the allowed amount shall be the amount determined by a final order of the
           Court.

     X.    Compliance with Confirmation Requirements. The Debtors aver that this Plan
           complies with all applicable Chapter 12 standards for confirmation, to-wit:

           a.     Compliance with Laws and Good Faith. The Debtors believe that the Plan
           complies with all provisions of Chapter 12 and any other applicable provisions of
           the Bankruptcy Code, that the Plan has been proposed in good faith and not by any
           means forbidden by law, and that all fees, charges or amounts required to be paid
           before confirmation shall be paid.




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          b.      Feasibility. Based upon the projected income and expenditures contained
          in the Debtors’ Chapter 12 Statement, the Debtors believe that they will be able to
          make all payments required under the Plan. The Debtors’ Annual Farm Plan for
          four (4) years are attached hereto. See Ex. A.



                                                       HARRIS FARMS, LLC
                                                       By: Douglas Richie Harris
                                                       Its: Managing Member

                                                       /s/ Douglas Richie Harris
                                                       DOUGLAS RICHIE HARRIS

                                                       HARRIS TURF, INC.
                                                       By: Douglas Richie Harris
                                                       Its: Managing Member

                                                       /s/ Douglas Richie Harris
                                                       DOUGLAS RICHIE HARRIS

                                                       /s/ Stuart M. Maples
                                                       STUART M. MAPLES
                                                       (ABS-1974-S69S)

                                                       MAPLES LAW FIRM, PC
                                                       200 Clinton Avenue West, Suite 1000
                                                       Huntsville, Alabama 35801
                                                       Tel: (256) 489-9779
                                                       Fax: (256) 489-9720
                                                       smaples@mapleslawfirmpc.com




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                                  CERTIFICATE OF SERVICE

        I do hereby certify that on April 8, 2019, a copy of the foregoing document was served on
the following by Electronic Case Filing a copy of the same.

Tazewell T. Shepard
Chapter 12 Trustee
taze@ssmattorneys.com

Richard Blythe
Bankruptcy Administrator
richard_blythe@alnba.uscourts.gov

All parties requesting notice

All parties on the creditor matrix attached hereto

                                                           /s/ Stuart M. Maples
                                                           STUART M. MAPLES




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                                                        EXHIBIT A




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EXHIBIT B


Richie and Sherry Harris                       Monthly Expenses


Groceries                                             700.00
Rent                                                 1000.00
Health Ins                                             45.00
Car Payment                                           681.61
Fuel                                                  360.00
Auto upkeep                                           210.00
Auto Ins                                              225.00
Media-com                                             165.00
Daughter Coll ege                                     800.00
Cell Phone                                             95.00
Clothing gloves, boots, etc.                          115.00
Life Ins                                              455.00
Misc household expenses                               325.00


                                                  $5,176.61




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                                                                                                             EXHIBIT C

                Asset                Value              Creditor             Secured Claim     Exemption
Real Property - 206.34 Acres        $952,000.00           Darrin K. Isbell       $850,000.00
                                                    Madison County Coop          $175,000.00

160 Acres Bermuda Sod               $557,568.00       Citizens Community         $380,561.77
Utility Credit Line at FNB Bank       $7,500.00
Office Furniture                        $750.00                                                   $750.00
Office Fixtures                         $500.00                                                   $500.00
2000 Wilson Hopper Trailer
                                                    First Jackson Bank
VIN1W1MCF1A5YB231095                 $15,000.00
2000 Wilson Hopper Trailer
                                                           FNB
VIN1W1MCF1AOYA230930                 $15,000.00
1999 Valley Center Pivot             $15,000.00           FNB
2011 Valley Center Pivot             $35,000.00           FNB
Land Pride AMF4216 1073733                              Kubota Credit Co.
                                                                                  $51,495.06
Kubota M7060HD 63496                                    Kubota Credit Co.

                         TOTALS: $1,598,318.00                                 $1,457,056.83     $1,250.00   $140,011.17




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                       IN THE UNITED STATES BANKRUPTCY COURT
                   NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION

    IN RE:                                                 )
                                                           )
    HARRIS FARMS, LLC,1                                    ) CASE NO. 17-81562-CRJ12
    EIN: XX-XXX8466                                        ) CHAPTER 12
                                                           )
          Debtor.                                          ) (Jointly Administered)


                                      CHAPTER 12 PLAN SUMMARY

     I.    ADMINISTRATIVE CREDITOR(S) PAYMENTS
           A.      Creditor: United States Bankruptcy Court for noticing fees & other charges
           Amount Owed: estimated to be under $100.00
           Interest Rate: None
           Payments: Debtor shall tender cash payment in full upon entry of Confirmation Order.
           Amount of payment: estimated to be under $100.00
           Payment made by: Trustee ( ) Debtor Direct (X)

           B.      Creditor’s Name: Tazewell T. Shepard, Chapter 12 Trustee
           Amount Owed: estimated to be $20,000.00
           Interest Rate: 5% for Compensation; 0.5% for Expenses
           Payments: Trustee shall deduct such from payment from Plan deposits as earned.
           Payment made by: Trustee (X) Debtor Direct ( )

           C.      Creditor’s Name: Maples Law Firm, PC
           Amount Owed: estimated to be $27,500.00 at confirmation; must be approved by the
           United States Bankruptcy Court.
           Interest Rate: None
           Payments: Debtor shall tender cash payment in full upon entry of Confirmation Order.
           Payment made by: Trustee (X) Debtor Direct ( )

    II.    FARMS PRIORITY CREDITOR(S)
           A.      Madison County Tax Collector: Unpaid Property Tax
           Amount owed: $180.23
           Lien: None
           Interest Rate: None
           Payment: Debtor shall tender cash payment 30 days after confirmation of the Plan.
           Payment made by: Trustee (X) Debtor Direct ( )




1
    In addition to Harris Farms, LLC, the debtors include the following: Harris Turf Inc.; Case No. 17-81563-CRJ12.
                                                           1

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III.   TURF PRIORITY CREDITOR(S)
       A.      Internal Revenue Service: Unpaid Property Tax
       Amount owed: Approximately $15,016.53
       Lien: None
       Interest Rate: None
       Payment: Debtor shall tender cash payments over sixty (60) months from the date of
       confirmation, with no interest, until claim is paid in full. The estimated payment will be
       $250.28 per month. However, Turf intends to object to the claim of the IRS.
       Payment made by: Trustee (X) Debtor Direct ( )

       B.      Madison County Tax Collector: Unpaid Income Tax
       Amount owed: Approximately $882.04
       Lien: None
       Interest Rate: None
       Payment: Debtor shall tender cash payment 30 days after confirmation of the Plan.
       Payment made by: Trustee (X) Debtor Direct ( )

IV.    FARMS SECURED CREDITOR(S)
       A.       Creditor: Kubota Credit Corporation
       Amount Owed: $51,495.06
       Lien: Security Interest, one (1) Kubota M7060HD 63496, and one (1) Land Pride
       AMF4216 1073733
       Interest Rate: 5.25% per annum fixed rate
       Payment: The Debtor will pay Kubota its allowed claim over the course of sixty (60)
       months. Payments shall commence on the first day of the first month following
       confirmation of the Plan and shall continue thereafter until the debt owed to Kubota is paid
       in full. Kubota shall retain its lien upon this collateral until its debt is paid in full at which
       time the Debtor may file the appropriate termination statements. The estimated payment
       shall be $977.68 per month. The Creditor shall retain its lien to the extent of its allowed
       secured claim.
       Payment made by: Trustee (X) Debtor Direct ( )

       B.      Creditor: Citizens Community Bank
       Amount Owed: $277,719.61
       Lien: Security Interest, all crops growing, grown and/or stored and the proceeds of the sale
       thereof.
       Interest Rate: 5.25% per annum fixed rate
       Payment: The Debtor will pay Citizens Community Bank its allowed claim over the course
       of two hundred and forty (240) months, in monthly installments. Payments shall
       commence on the first day of the first month following confirmation of the Plan and shall
       continue thereafter until the debt owed to Citizens Community Bank is paid in full.
       Citizens Community Bank shall retain its lien upon this collateral until its debt is paid in
       full at which time the Debtor may file the appropriate termination statements. The
       estimated payment shall be $1,871.40 per month. The Creditor shall retain its lien to the
       extent of its allowed secured claim.
       Payment made by: Trustee (X) Debtor Direct ( )

                                                   2

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     C.      Creditor: Citizens Community Bank
     Amount Owed: $102,842.16
     Lien: Security Interest, growing sod on farm located in District 3 of Madison County,
     Alabama, and all equipment and the proceeds of the sale thereof.
     Interest Rate: 5.25% per annum fixed rate
     Payment: The Debtor will pay Citizens Community Bank its allowed claim over the course
     of two hundred and forty (240) months, in monthly installments. Payments shall
     commence on the first day of the first month following confirmation of the Plan and shall
     continue thereafter until the debt owed to Citizens Community Bank is paid in full.
     Citizens Community Bank shall retain its lien upon this collateral until its debt is paid in
     full at which time the Debtor may file the appropriate termination statements. The
     estimated payment shall be $693.00 per month. The Creditor shall retain its lien to the
     extent of its allowed secured claim.
     Payment made by: Trustee (X) Debtor Direct ( )

     D.       Creditor: First Jackson Bank
     Amount Owed: $15,000.00
     Lien: Security Interest, (1) 2000 Wilson Hopper Trailer, VIN 1W1MCF1A5YB231095.
     Interest Rate: 6% per annum fixed rate
     Payment: The Debtor will pay First Jackson Bank its allowed secured claim over the
     course of forty-eight (48) months, which includes interest at the rate of 6%. Payments shall
     continue for the remaining term of the Plan and shall continue until the debt owed to First
     Jackson Bank is paid in full. First Jackson Bank shall retain its lien upon this collateral
     until its debt is paid in full at which time the Debtor may file the appropriate termination
     statements. The estimated payment shall be $352.28 per month. This payment will be
     made by the Trustee. The Creditor shall retain its lien to the extent of its allowed secured
     claim.
     Payment made by: Trustee (X) Debtor Direct ( )

     E. Creditor: Darrin J. Isbell
     Amount Owed: $850,000.00
     Lien: Security Interest, real property located in Madison County more particularly
     described as Section 26, Township 3 South, Range 2 East; and all irrigation equipment,
     parts, watering systems and their replacements.
     Interest Rate: 6.5% per annum fixed rate
     Payment: The Debtor will pay Darrin J. Isbell his Allowed Secured Claim over the course
     of two hundred and forty (240) months. Payments shall commence on the first day of the
     first month following confirmation of the Plan and shall continue thereafter until the debt
     owed to Darrin J. Isbell is paid in full. Darrin J. Isbell shall retain his lien upon this
     collateral until his Allowed Secured Claim is paid in full at which time the Debtor may file
     the appropriate termination statements and mortgage releases. If fully secured, the
     Allowed Secured Claim has an estimated payment of $6,337.37 per month. The Creditor
     shall retain its lien to the extent of its allowed secured claim.




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       Both Farms and Turf are jointly and severally liable for this debt, and payment is provided
       for by both Debtors. However, Farms, as the operating entity, is anticipated to make these
       payments. Notwithstanding anything contained in this Plan, Farms and Turf shall not be
       obligated to duplicate the payment of the Allowed Secured Claim of this creditor.
       Payment made by: Trustee (X) Debtor Direct ( )

       F. Creditor: FNB Bank
       Amount Owed: $65,000.00
       Lien: Security Interest, one (1) 2011 Valley Center Pivot, Serial 10908672; 1999 Valley
       Center Pivot, Serial 10018142; and one (1) 2000 Wilson Hopper Trailer, VIN
       1W1MCF1AOYA230930.
       Interest Rate: 6% per annum fixed rate
       Payment: The Debtor will pay FNB Bank its allowed secured claim over the course of
       forty-eight (48) months, which includes interest at the rate of 6%. Payments shall continue
       for the remaining term of the Plan until the debt owed to FNB Bank is paid in full. FNB
       Bank shall retain its lien upon this collateral until its debt is paid in full at which time the
       Debtor may file the appropriate termination statements. The estimated payment shall be
       $1,526.53 per month. This payment will be made by the Trustee. The Creditor shall retain
       its lien to the extent of its allowed secured claim.
       Payment made by: Trustee (X) Debtor Direct ( )

       G. Creditor: Madison County Cooperative, Inc.
       Amount Owed: $175,000.00
       Lien: real property located in Madison County more particularly described as Section 26,
       Township 3 South, Range 2 East.
       Interest Rate: 5.25% per annum fixed rate
       Payment: The Debtor will pay Madison County Coop its Allowed Secured Claim over the
       course of two hundred and forty (240) months. Payments shall commence on the first day
       of the first month following confirmation of the Plan and shall continue thereafter until the
       debt owed to the Madison County Coop is paid in full. Madison County Coop shall retain
       its lien upon this collateral until its Allowed Secured Claim is paid in full at which time the
       Debtor may file the appropriate termination statements and mortgage releases. The
       Allowed Secured Claim has an estimated payment of $1,179.23 per month. The Creditor
       shall retain its lien to the extent of its allowed secured claim.

       Both Farms and Turf are jointly and severally liable for this debt, and payment is provided
       for by both Debtors. However, Farms, as the operating entity, is anticipated to make these
       payments. Notwithstanding anything contained in this Plan, Farms and Turf shall not be
       obligated to duplicate the payment of the Allowed Secured Claim of this creditor.
       Payment made by: Trustee (X) Debtor Direct ( )


Each creditor now omitted or modified due to surrender of collateral shall have (60) days to
liquidate collateral and amend their respective claims to reflect deficiency balances.




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V.   TURF SECURED CREDITOR(S)
     A. Creditor: Darrin J. Isbell
     Amount Owed: $850,000.00
     Lien: Security Interest, real property located in Madison County more particularly
     described as Section 26, Township 3 South, Range 2 East; and all irrigation equipment,
     parts, watering systems and their replacements.
     Interest Rate: 6.5% per annum fixed rate
     Payment: The Debtor will pay Darrin J. Isbell his Allowed Secured Claim over the course
     of two hundred and forty (240) months. Payments shall commence on the first day of the
     first month following confirmation of the Plan and shall continue thereafter until the debt
     owed to Darrin J. Isbell is paid in full. Darrin J. Isbell shall retain his lien upon this
     collateral until his Allowed Secured Claim is paid in full at which time the Debtor may file
     the appropriate termination statements and mortgage releases. If fully secured, the
     Allowed Secured Claim has an estimated payment of $6,337.37 per month. The Creditor
     shall retain its lien to the extent of its allowed secured claim.

     Both Farms and Turf are jointly and severally liable for this debt, and payment is provided
     for by both Debtors. However, Farms, as the operating entity, is anticipated to make these
     payments. Notwithstanding anything contained in this Plan, Farms and Turf shall not be
     obligated to duplicate the payment of the Allowed Secured Claim of this creditor.
     Payment made by: Trustee (X) Debtor Direct ( )

     B. Creditor: Madison County Cooperative, Inc.
     Amount Owed: $175,000.00
     Lien: real property located in Madison County more particularly described as Section 26,
     Township 3 South, Range 2 East.
     Interest Rate: 5.25% per annum fixed rate
     Payment: The Debtor will pay Madison County Coop its Allowed Secured Claim over the
     course of two hundred and forty (240) months. Payments shall commence on the first day
     of the first month following confirmation of the Plan and shall continue thereafter until the
     debt owed to the Madison County Coop is paid in full. Madison County Coop shall retain
     its lien upon this collateral until its Allowed Secured Claim is paid in full at which time the
     Debtor may file the appropriate termination statements and mortgage releases. The
     Allowed Secured Claim has an estimated payment of $1,179.23 per month. The Creditor
     shall retain its lien to the extent of its allowed secured claim.

     Both Farms and Turf are jointly and severally liable for this debt, and payment is provided
     for by both Debtors. However, Farms, as the operating entity, is anticipated to make these
     payments. Notwithstanding anything contained in this Plan, Farms and Turf shall not be
     obligated to duplicate the payment of the Allowed Secured Claim of this creditor.
     Payment made by: Trustee (X) Debtor Direct ( )




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VI.    UNSECURED CLAIMS
       Pursuant to 11 U.S.C. § 1222(b)(2), the Debtors elect to modify the rights of the holder of
       unsecured claims as follows:

       A.      Unsecured Claims of Farms. This class consists of any pre-petition unsecured
       claims concerning Farms’ farming operation. They include claims of every kind and nature
       including claims arising from the rejection of executory contracts, unexpired lease claims,
       deficiencies on secured claims, contract damage claims or open account claims and
       damages arising from or related to any liquidated or contingent claim. It also includes any
       debt which is filed as a secured claim but, which is allowed as an unsecured claim by the
       Bankruptcy. The Debtor anticipates that this sum will be approximately $364,343.86.

       B.      Unsecured Claims of Turf. This class consists of any pre-petition unsecured claims
       concerning any debt which is filed as a secured claim but, which is allowed as an unsecured
       claim by the Bankruptcy. The Debtor anticipates that this sum will be approximately
       $152,078.88. Turf is a passive entity, and therefore has no expectation of future income.
       The secured portions of the claims will be secured and the Allowed Unsecured Claim will
       receive $0. The Debtor notes, however, that the unsecured claims in Turf are Isbell and
       the Coop, which also have the same unsecured claims in Farms, and will receive
       distributions there.

VII.   ASSUMPTION OF CONTRACTS
       Executory Contracts and Unexpired Leases. Debtors propose to assume all executory
       contracts and unexpired leases not previously rejected.




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Label Matrix for local noticing        Citizens Community Bank                 FNB BANK
1126-8                                 c/o Jeffrey L. Cook                     1535 SOUTH BROAD STREET
Case 17-81562-CRJ12                    P, O. Box 5585                          SCOTTSBORO, AL 35768-2608
NORTHERN DISTRICT OF ALABAMA           Huntsville, AL 35814-5585
Decatur
Mon Apr 8 12:40:34 CDT 2019
First Jackson Bank                     Harris Farms, LLC                       Helena chemical Company
c/o James T. Baxter III, Esq.          2008 Gurley Pike                        c/o Frank E. Bankston, Jr.
P.O. Box 165                           Gurley, AL 35748-9279                   P.O. Box 239
Huntsville, AL 35804-0165                                                      Montgomery, AL 36101-0239


Madison County Cooperative, Inc.       Stephens Appraisal Services, LLC        Upfront Holding, LLC
c/o Chad W. Ayres                      203 Eastside Square, Ste 2              403 Andrew Jackson Way
P. O. Box 2168                         Huntsville, AL 35801-8818               Huntsville, AL 35801-3631
Huntsville, AL 35804-2168


U. S. Bankruptcy Court                 A. Mac Martinson                        AG Direct
400 Well Street                        Martinson & Beason, PC                  PO Box 2409
P. O. Box 2775                         115 North Side Sq.                      Omaha, NE 68103-2409
Decatur, AL 35602-2775                 Huntsville, AL 35801-4822


AGCO Finance LLC                       AMERICAN EXPRESS BANK, FSB              American Express
PO Box 2000                            C/O BECKET AND LEE LLP                  PO Box 650448
Johnston, IA 50131-0020                PO BOX 3001                             Dallas, TX 75265-0448
                                       MALVERN PA 19355-0701


CNH Industrial Capital Ameria, LLC     CNH Industrial Capital America LLC      Capital One
P.O. Box 3600                          PO Box 3600, Lancaster, PA 17604-3600   PO Box 60599
New Holland, PA 17604-3600                                                     City of Industry, CA 91716-0599



Capital One                            Citizens Community Bank                 Darrin K. Isbell
PO Box 60599                           1418 Dinah Shore Blvd.                  1333 Salty Bottom jRd.
North Hollywood, CA 91616              Winchester, TN 37398-1112               Madison, AL 35758



FNB                                    FNB                                     Farm Credit Services of America, PCA, servic
206 South First Street                 402 Broad St.                           c/o S. Dagnel Rowe, Wilmer & Lee, P.A.
Pulaski, TN 38478                      Scottsboro, AL 35768-1706               Huntsville, AL 35801



Frank Smith, Jr.                       Helena Chemical Company                 Herbert H. Bowden
903 Co. Rd. 421                        c/o Frank E. Bankstop, Jr., Esq.        656 Honeycomb Rd.
Cullman, AL 35057-2639                 PO Box 239                              Grant, AL 35747-9378
                                       Montgomery, AL 36101-0239


Internal Revenue Service               John Deere Financial                    John Deere Financial, f.s.b.
Centralized Insolvency Operations      6400 NW 86th St.                        PO Box 6600
PO Box 7346                            PO Box 6600                             Johnston, IA 50131-6600
Philadelphia, PA 19101-7346            Johnston, IA 50131-6600

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Joyce White Vance                                      Kubota Credit Corporation                            Kubota Credit Corporation
US Attorney General                                    PO Box 2046                                          PO Box 9013
1801 4th Ave North                                     Grapevine, TX 76099-2046                             Addison, Texas 75001-9013
Birmingham, AL 35203-2101


Loretta Lynch US Attorney General                      Luther Strange                                       Lynda Hall, Tax Collector of Madison CO, AL
US Dept. of Justice                                    Alabama Attorney General                             100 Northside Square, Room 116
950 Pennsylvania Ave NW                                PO Box 300152                                        Huntsville, AL 35801-8815
Washington, DC 20530-0009                              Montgomery, AL 36130-0152


Madison County Cooperative                             Madison County Cooperative, Inc.                     Mike Bean
PO Box 68                                              483 Jack Thomas Road                                 5116 Colemont Lane
Hazel Green, AL 35750-0068                             Toney, AL 35773-8534                                 Huntsville, AL 35811-1004



Monsanto Company                                       PHI Financial Services, Inc.                         PHI Financial Services, Inc.
c/o Parnell & Parnell, P.A.                            PO Box 1000                                          c/o Parnell & Parnell, P.A.
P.O. Box 2189                                          Johnston, IA 50131-9411                              P.O. Box 2189
Montgomery, AL 36102-2189                                                                                   Montgomery, AL 36102-2189


State of Alabama                                       Tim McCarrell                                        Douglas Richie Harris
Department of Revenue Legal Division                   2511 Aberdeen Rd.                                    138 Autumn Spring Drive
PO Box 320001                                          Birmingham, AL 35223-1009                            Gurley, AL 35748-9203
Montgomery, AL 36132-0001


Richard M Blythe                                       Stuart M Maples                                      Stuart M Maples
United States Bankruptcy Administrator                 Maples Law Firm                                      Maples Law Firm, PC
PO Box 3045                                            200 Clinton Ave. West, Ste. 1000                     200 Clinton Avenue W.
Decatur, AL 35602-3045                                 Huntsville, AL 35801-4919                            Suite 1000
                                                                                                            Huntsville, AL 35801-4919

Tazewell Shepard
Tazewell Shepard, Trustee
PO Box 19045
Huntsville, AL 35804-9045




                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Farm Credit Services of America, PCA, serv          (d)First Jackson Bank                                (d)Upfront Holding, LLC
c/o S. Dagnal Rowe‘, Wilmer & Lee,                     c/o James T. Baxter III, Esq.                        403 Andrew Jackson Way
Huntsville                                             P.O. Box 165                                         Huntsville, AL 35801-3631
                                                       Huntsville, AL 35804-0165


(u)Darrin Isbell                                       End of Label Matrix
                                                       Mailable recipients    48
                                                       Bypassed recipients     4
                                                       Total                  52

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